                 Case 6:10-cv-06332-EAW-MWP Document 58 Filed 06/23/15 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Western    District of        NY


TARA L. CAIN AND REYNOLD ORIOL, Individually
and as natural guardians of A.C. and R.C., each an infant,           )
                             Plaintiff                               )
                                v.                                   )         Civil Action No.      6:10-cv-06332-EAW-MWP
   BRYAN TROMBLEY, MICHAEL JENNINGS and                              )
            DION MIGLIORATTI,                                        )
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

   the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                   recover costs from the plaintiff (name)
                                            .

    other:     Jury found no cause in favor of defendants'.

                                                                                                                                     .

This action was (check one):


   tried by a jury with Judge                               Elizabeth A. Wolford                      presiding, and the jury has
rendered a verdict.

   tried by Judge                                                                         without a jury and the above decision
was reached.

    decided by Judge                                                                           on a motion for

                                                                                                                                     .

Date:             06/23/2015                                                  CLERK OF COURT



                                                                                          Signature of Clerk or Deputy Clerk
